                                  Case 3:18-cv-01477-JR                    Document 285-2                Filed 11/16/22             Page 1 of 2




                                                                                                                                                                    ,... EXHIBIT ""
                                                                                                                                                                                 621
                                                                                                                                                                             Alison Daugherty
                                                                                                                                                                                 2/5/ 2021
                                                                                                                                                                    llo...   -    •-·CSR,COR    ,...




   If IT'S 'HAP-P,EN'ED TO YOU WE WANT TO KNOW.
          '
   Please·select one or more choices below.



    D ·mscfimlnation.or other harassment
         (Geherally, Dls.crlmination or Haras,5rnent can include threatsnnsults, Jo.kes, urw11etcomeverbal tomments or email1 derogatory pictures or gestures or unwelcome physical
         conduct, hullylng,retaijation; disc·rimlnatign Ofdlsrespect based on race, ege,gexual orientation, disability, ethnl¢group or any protected dass status, intimidation, micro~
         aggresslons, exclusionary behavlor and actions including 'clique51 or'clubs', preferential treatment,thefeeling of having to 'prove' yourse lf versus colteagqes, pay or
         performance recognition, coulc! include purposely ambiguous CF~ feeclback whether verbal or wdtten,lack of a clear andsuppqrted growth plan from rnepagec gender
         or diversity lolas retating to hiring1 promoting, pay or performance rewards. Discrimlnatiort or.harassment atworl< can happen Inside or outside of the work~place.}



    -CE('~exual hara.sstnent
                                                                                                                                                 a
         (Generally, Sexual Harassmentcan incl Ude unwelcome.sexuafadvances,.requests forsexu.al.faVors, other verbal or phyl?ical conduct of sexual nature. ·sexual harassment
         at work can happen inside ot outsJde ofthe worJ<..place and can include co-workers indudtng athletes, managers, vendors and visitors.)    ·




     l'F·VOU WOULD LIKE TO SHARE MORE .DETAILS, PLEASE DO SO OVER THE PAGE.
     Of you !are a Nike employee,Nfke's harassment and anthdlscrlmlnaticm policy canbafoqnd here: https:/tnlkeht.nike.com/node/15978)




                                                                                                                                                                             NIKE_00033366
Highly Confidential - Attorneys' Eyes Only
                                                                                                                                             Sun Decl. Ex. 52, Page 1 of 2
                                            Case 3:18-cv-01477-JR                           Document 285-2              Filed 11/16/22           Page 2 of 2




 MY EXPERIE,NCE
(If you .need more space, pieas.e photocopythis pageorinclude.additional attachme..nts'as heeded)




•·· Do you hi,ive any hate! evidence such c1s emaU7, photo's etc,?   )J D

  If not expefienc.ed first hand,'then howwas itbrought to yourattention?




 'If you reported it, was lt.resotved?   :::r:: c.\avk+- a.f\;~% i ~. Wa..S dou ---6 ccJ.&v·~·~rs hl,o\.V r•~.r.. ::C--b
 ·         .          .                               .       . 71 UKJ. :I= do(\.+ ~+ --\7:::s_ lo.se- rny jot>
                                                                                                                                                    0
                                                                                                                                                        '



  If you did not report it, why did you rnake that d!1lclsion? ./     ·     ··

  What impact hasthlsex~eriencehadonyou? "J:+-" ri:.J'T"                  ttV.:e:ri ba.&    ~ ('fl t'!4'f (llla.JJ,... 6l}:,ov+ ---tk ·lt::.&i.&lk.~lt,'p . avi.dl ho01!l   /Yl,~(\
                                                                                                                                                                                      4
                                                                                                                                                                                          ht~I:::. f'\.&-k6-
  (For example; careerp~ogress\onn,hysioal health, psychological health; other)             O!.c.\VM-±c~    --©{   ~ · t,.'>D~ • .bR,.. (ei U) . .~ w t •

  Please il'!l;l)c;ate if yoUwould Hke to cUscuss ~nd potentialhrelevatev.our e,merience:
                                                                                ...         le




                                                                                                                                                                                          NIKE_00033367
Highly Confidential - Attorneys' Eyes Only
                                                                                                                                                            Sun Decl. Ex. 52, Page 2 of 2
